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                                             November 12, 2019

   Via Electronic Filing
   Hon. Madeline Cox Arleo
   U.S. District Court for the District of New Jersey
   Martin Luther King, Jr. Building & U.S. Courthouse
   50 Walnut Street
   Newark, New Jersey 07101

   Re:     In re Liquid Aluminum Sulfate Antitrust Litigation, No. 16-md-2687(MCA)(JAD)

   Dear Judge Arleo:

           We represent Lawrence McShane, the relator in certain state qui tam actions concerning
   the sale of liquid aluminum sulfate. As you know, Mr. McShane has previously filed motions to
   intervene and objections with respect to the settlements the Direct Purchaser Plaintiffs entered
   into with GEO Specialty Chemicals, Inc. (“GEO”), Brian Steppig (“Steppig”), Chemtrade
   Defendants (“Chemtrade”), USALCO, LLC (“USALCO”), and American Securities LLC
   (“American Securities”). We have appeared on behalf of Mr. McShane at the fairness hearings
   before Judge Linares to object to GEO, Steppig, and Chemtrade’s settlements. We also recently
   appeared before you at the fairness hearing on September 26th to object to USALCO and
   American Securities’ settlements. Per Your Honor’s recommendations at the September
   hearing, 1 we submit this letter to preserve Mr. McShane’s objections with regard to the
   settlement agreement between C&S Chemicals, Inc. (“C&S”) and the Direct Purchaser Plaintiffs
   (“C&S Settlement Agreement”).

           As the relevant provisions of the C&S Settlement Agreement are substantially identical to
   those in the previously executed settlement agreements, Mr. McShane’s previous objections and
   bases for intervening apply to the C&S Settlement Agreement as well. Mr. McShane’s
   arguments are set forth in Docket Entries 1091-1 and 1092-1 with respect to GEO and Steppig’s
   settlement agreement, Docket Entries 1374-1 and 1375-1 with respect to Chemtrade’s settlement
   agreement, and Docket Entries 1374-1 and 1375-1 with respect to USALCO’s and American
   Securities’ settlement agreements.

        We understand that you will likely adopt the same ruling that you and Judge Linares
   made when denying Mr. McShane’s previous motions and objections. This ruling was
   summarized by Judge Linares as follows:

           I am not taking a position, and this Court is not making a ruling today that
           anything that I do with regard to this judgment today releases or terminates the
           qui tam actions or affects them in any way. Then it is up to the other courts to
           decide that issue…Because I can only decide what is in front of me, and what is

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           Your Honor recommended at the September 26 fairness hearing that Mr. McShane file a letter
   about future settlements and appear telephonically rather than file another formal motion to intervene and
   objection. See Exhibit 1, Transcript of 9/26/19 Fairness at Hearing, at 46:2-12.
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          in front of me is the fairness of this settlement and the appropriateness of this
          settlement. Whether or not there is a decision by another court of what the effect
          of this is, it is going to be up to them, except that it's going to be clear from the
          record, as I am speaking, that all I am doing is settling the claims that are before
          me…and this is not to indicate what, if anything, should be the decision on the qui
          tam actions at another state.

   November 14, 2018 Fairness Hearing Transcript at 38:11-16; 38:11-39:1; 39:3-5 (attached hereto
   as Exhibit 2). Judge Linares also confirmed his holding in a written order:

          [A]s this Court stated on the record at the hearing, the Court is not making a
          ruling that its approval of the settlement in any way releases, terminates, or affects
          Mr. McShane’s qui tam actions pending in three separate state courts.

   Docket Entry 1169 at 2.

           Assuming that you do adopt the Court’s earlier ruling, Mr. McShane respectfully requests
   that you also reiterate that you are “not making a ruling that [the Court’s] approval of the
   settlement in any way releases, terminates, or affects Mr. McShane’s qui tam actions.” We also
   respectfully request the opportunity to appear via telephone at the upcoming November 13th
   fairness hearing in order to preserve our objections to the C&S Settlement Agreement on the
   record.


          We appreciate Your Honor’s attention to this matter.


                                                 Respectfully,

                                                 /s/ Frank Newell

                                                 Frank Newell
                                                 Attorney for Lawrence McShane


   Cc:    All counsel of record by ECF
